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 PROB 12C                                                                            Report Date: October 26, 2020
(6/16)

                                       United States District Court
                                                                                                       FILED IN THE
                                                                                                   U.S. DISTRICT COURT
                                                                                             EASTERN DISTRICT OF WASHINGTON
                                                       for the

                                        Eastern District of Washington
                                                                                               Oct 26, 2020
                                                                                                  SEAN F. MCAVOY, CLERK

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Billy J. Koschney                         Case Number: 0980 2:17CR00128-RMP-6
 Address of Offender: Unknown
 Name of Sentencing Judicial Officer: The Honorable Rosanna Malouf Peterson, U.S. District Judge
 Date of Original Sentence: January 10, 2018
 Original Offense:        Bank Fraud, 18 U.S.C. § 1344(1)
 Original Sentence:       Prison - 116 Days;                 Type of Supervision: Supervised Release
                          TSR - 60 Months
 Asst. U.S. Attorney:     David M. Herzog                    Date Supervision Commenced: January 10, 2018
 Defense Attorney:        Molly Marie Winston                Date Supervision Expires: January 9, 2023


                                          PETITIONING THE COURT

To ISSUE A WARRANT and to incorporate the violation(s) contained in this petition in future proceedings with
the violation(s) previously reported to the Court on 4/23/2020, and 10/15/2020.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            6           Mandatory Condition #3: You must refrain from any unlawful use of a controlled
                        substance. You must submit to one drug test within 15 days of release from imprisonment
                        and at least two periodic drug tests thereafter, as determined by the court.

                        Supporting Evidence: Mr. Billy Koschney is alleged to have violated mandatory condition
                        number 3 by ingesting both methamphetamine and Oxycodone on or about October 9, 2020,
                        based on urinalysis testing and the client’s admission of such use relative to his alleged
                        ingestion of methamphetamine and based on urinalysis testing relative to the client’s alleged
                        ingestion of Oxycodone.

                        On January 16, 2018, Mr. Koschney signed his conditions relative to case number
                        2:17CR00128-RMP-6 indicating he understood all conditions as ordered by the Court.
                        Specifically, Mr. Koschney was made aware by his U.S. probation officer that he was
                        required to refrain from any unlawful use of a controlled substance.

                        Specifically, on October 20, 2020, the undersigned officer received two laboratory
                        confirmation reports specific to Mr. Koschney, and as provided through e-mail by the
                        Spokane Residential Reentry Center (RRC) director. The first report notes a urinalysis
                        sample collection date of October 9, 2020, which occurred on the day of the client’s arrival
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                     at the Spokane RRC. The lab report serves to confirm the sample as submitted by the client
                     as being positive for both methamphetamine and Oxycodone. The second laboratory report
                     notes a urinalysis sample collection date of October 13, 2020, and serves to confirm the
                     sample as submitted by the client as being positive for methamphetamine. It should be noted
                     that based on the level of methamphetamine present in the client’s samples during testing,
                     the evidence suggests the second report in of itself is not indicative of new use, but rather
                     residual from the client’s original use as previously occurring on or prior to October 9, 2020.

                     On October 23, 2020, Mr. Koschney contacted the undersigned officer telephonically in an
                     effort to respond to both a voice mail and a text message left for and sent to the client,
                     respectively, by the undersigned officer on October 22, 2020, requesting a return call from
                     the client. Upon questioning, Mr. Koschney admitted to previously ingesting
                     methamphetamine occurring on or about October 8, 2020, initially stating he had engaged
                     in self sabotage noting he had considered simply being returned to custody as opposed to
                     being returned to the Spokane RRC. Mr. Koschney then indicated that he instead wanted to
                     be honest with the undersigned officer and advised he had taken the substance to enhance his
                     physical performance, and, therefore, his partner’s physical pleasure during intimacy, prior
                     to submitting to the Spokane RRC as he did not know when he would see her again.

                     Mr. Koschney advised his use of methamphetamine constituted his first use of any illicit
                     substance during the current term of supervised release and he advised of no urges or desires
                     to use further, again indicating he only did so for the benefit of his partner. Mr. Koschney
                     denied at any point ingesting Oxycodone, and advised he was unsure how the substance
                     could have entered his system. Mr. Koschney did advise that he had been up front and honest
                     with RRC staff about his use of methamphetamine upon his arrival, but he indicated he had
                     not advised the undersigned officer as he had not had time and then later thought he would
                     simply see “how it played out.”


          7          Special Condition #10: You must reside in a residential reentry center (RRC) for a period
                     of up to 180 days at the direction of the supervising officer. Your participation in the
                     programs offered by the RRC is limited to employment, education, treatment, and religious
                     services at the direction of the supervising officer. The defendant shall abide by the rules and
                     requirements of the facility.

                     Supporting Evidence: Mr. Billy Koschney is alleged to have violated special condition
                     number 10 by terminating his placement at the Spokane RRC on October 25, 2020, at 4:20
                     a.m.

                     On September 29, 2020, Mr. Koschney appeared before Your Honor telephonically, due to
                     the COVID-19 pandemic, for the purpose of revocation. As a part of the hearing, Your Honor
                     modified Mr. Koschney’s conditions to include a condition requiring the client to reside at
                     the Spokane RRC, as of the soonest possible bed date. This condition modification was
                     reviewed with the client by the Court as a part of the proceeding.

                     On October 9, 2020, Mr. Koschney reported to the Spokane RRC to begin his required term
                     of placement as ordered by the Court. Mr. Koschney was advised that he would be
                     considered for release following proven stability in the community, to include secured
                     employment, consistent payments made toward his owed restitution, and obtaining suitable
                     residency.
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                     On October 25, 2020, at 4:08 a.m., the undersigned officer received a voice mail from the
                     client who advised that he needed the undersigned officer to immediately answer the phone,
                     noting he had a personal health issue and he had traveled to Deaconess Hospital to be seen,
                     but was then asked by the Spokane RRC to return, at which time he did. Mr. Koschney
                     indicated that upon his return he was denied a pass to return to the hospital, with staff
                     advising him if he left the RRC he would be considered to have absconded. The client noted
                     that he would call back in 15 minutes. At 4:13 a.m., the undersigned officer received a
                     second voice mail from the client who advised that he had made the decision to depart from
                     the Spokane RRC, and would contact the undersigned officer on Monday, October 26, 2020.
                     The client advised that he was more concerned for his health than he was for remaining at
                     the Spokane RRC.

                     On October 25, 2020, at 4:32 a.m., the undersigned officer received an e-mail from the
                     assistant director with the Spokane RRC, who advised that at around 11:10 p.m., on October
                     24, 2020, she had received a phone call from facility staff who advised Mr. Koschney was
                     requesting to travel to the emergency room due to a personal health concern. As a result, Mr.
                     Koschney was signed out of the facility to Deaconess Hospital. At 1:15 a.m., on October 25,
                     2020, the assistant director was contacted by facility staff who advised that staff had not
                     heard from the client and he had not checked into the hospital. At 1:19 a.m., the client
                     contacted the Spokane RRC from a random number and advised he was waiting for an Uber
                     at a gas station. At approximately 3 a.m., the assistant director was again contacted and
                     advised that staff had again not heard from the client and they had contacted Sacred Heart,
                     Deaconess and Spokane Valley hospitals, all of whom reported the client had not checked
                     in with the facilities.

                     On October 25, 2020, at 3:15 a.m., Mr. Koschney contacted the Spokane RRC while at
                     Sacred Heart Hospital and advised he was in the waiting room. Mr. Koschney was at that
                     time directed to return to the Spokane RRC. At 4:05 a.m., Mr. Koschney arrived back at the
                     Spokane RRC at which time he was denied a request to immediately return to the hospital.
                     Mr. Koschney at that time accused staff of denying him access to medical care, packed his
                     belongings and departed the facility.

The U.S. Probation Office respectfully recommends the Court ISSUE A WARRANT and incorporate the violation(s)
contained in this petition in future proceedings with the violation(s) previously reported to the Court.

                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                          Executed on:     October 26, 2020
                                                                           s/Chris Heinen
                                                                           Chris Heinen
                                                                           U.S. Probation Officer
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 THE COURT ORDERS

 [ ]      No Action
 [ X]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Defendant to appear before the Judge assigned to the
          case.
 [ X]     Defendant to appear before the Magistrate Judge.
 [ ]      Other

                                                                     Signature of Judicial Officer
                                                                            10/26/2020
                                                                     Date
